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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


EVEGENIY ARDEMASOV,                                  : CIVIL ACTION NO. 12-01570
                                                     :
                       Plaintiff                     :
                                                     :
               - against -                           :
                                                     :
CITIBANK, N.A.                                       : JUNE 5, 2013
                                                     :
                       Defendant.                    :


              DECLARATION OF NOAH M. WEISSMAN
                IN SUPPORT OF CITIBANK, N.A.’S
  MOTION TO DISQUALIFY PLAINTIFF’S COUNSEL ALBERT FEINSTEIN

       Noah M. Weissman, pursuant to 28 U.S.C. § 1746, declares:

       1.      I am a Partner of Bryan Cave LLP, attorneys for Defendant Citibank, N.A.

(“Citibank”) in the above-captioned action, and am personally familiar with the facts

stated herein. I submit this declaration in support of Citibank’s motion to disqualify

Plaintiff’s Counsel, Albert Feinstein, pursuant to Local Civil Rule 83.13.

       2.      Attached as Exhibit 1 is a true and correct copy of an e-mail that I

received from Albert Feinstein on November 8, 2012. The copy submitted does not

include e-mails that appeared earlier in the e-mail chain, because those messages

concerned requests for extension of time or settlement discussions that are irrelevant to

the instant motion.

       3.      Attached as Exhibit 2 is a true and correct copy of an e-mail purportedly

from Richard Muskus, the President of The Greenwich Bank & Trust Company, to Mr.

Feinstein dated January 10, 2013. Mr. Feinstein forwarded this e-mail to me as an

attachment to an e-mail on January 10, 2013.
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Pursuant to 28 U.S.C. § 1746, I, Noah M. Weissman, declare under penalty of perjury

under the laws of the United States of America that the foregoing is true and correct.

       Executed on June 5, 2013
       New York, New York

                                             /s/ Noah M. Weissman
                                             Noah M. Weissman




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                             CERTIFICATION OF SERVICE


       I hereby certify that on the date hereof, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s

electronic system.



                                                       /s/ Noah M. Weissman
                                                       Noah M. Weissman




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